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    1
                                        UNITED STATES DISTRICT COURT
    2
                             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    3
    4 JOSHUA BORKMAN, individually, and on            CASE NO. 2:16-cv-2225-FMO
      behalf of other members of the general          (MRWx)
    5 public similarly situated,
                                                      [PROPOSED] ORDER GRANTING
    6                      Plaintiff,                 STIPULATION TO CONTINUE
                                                      SCHEDULING CONFERENCE
    7             vs.
    8 BMW OF NORTH AMERICA, LLC a
      Delaware limited liability company,
    9
                   Defendant.
   10
            The Court has received and reviewed the Stipulation of Plaintiff Joshua
   11
      Borkman (“Plaintiff’) and Defendant BMW of North America, LLC (“BMW NA”),
   12
      seeking to continue the date of the Scheduling Conference currently set for June 30,
   13
      2016 (“Stipulation”), and the concurrently-filed declaration of Eric Y. Kizirian
   14
      (“Declaration”). As set forth in the Stipulation and Declaration, lead counsel for
   15
      BMW NA, who is required to attend the Scheduling Conference under this Court’s
   16
      Order Setting Scheduling Conference, is scheduled to attend a Fed. R. Civ. P.
   17
      30(b)(6) deposition on June 30, 2016 in Los Angeles in the case captioned In re
   18
      Takata Airbag Prod. Liab. Litigation, MDL 2599 (S.D. Fla. Case No. 15-md-
   19
      02599). According to the Declaration and Stipulation, the deposition involves a
   20
      foreign witness traveling from Japan and cannot easily be rescheduled.
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            Based on this conflict for BMW NA’s lead counsel, the Stipulation, and the
   22
      Declaration, and GOOD CAUSE APPEARING, it is hereby ordered that the
   23
      Scheduling Conference is continued to _______, 2016 at ____. All other dates set
   24
      by the Court remain unchanged.
   25
      Dated: _____________, 2016            _____________________________________
   26                                       Hon. Fernando M. Olguin
   27                                       United States District Court
                                            Central District of California
   28
        4815-6367-4930.1                                                2:16-cv-2225-FMO (MRWx)
                                                    ORDER
